                                    Case 19-10655-JKO                            Doc 41             Filed 04/23/19                  Page 1 of 12


  Fill in this information to identify the case:

  Debtor name          Consumer Advocacy Center Inc.

  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

  Case number       (if known)      19-10655-JKO
                                                                                                                                                            ■   Check if this is an
                                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           •   No. Go to Part 2.

           ❑   Yes. Go to line 2.



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim


 3.1       Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all       apply.                     $2,500.00
           Abante Rooter & Plumbing, Inc.
           c/o Andrew Heidarpour, Esq.                                               ❑   Contingent
           Heidarpour Law Firm, PLLC                                                 ❑   Unliquidated
           1300 Pennsylvannia Ave, NW 190-318                                        El Disputed
           Washington, DC 20004
                                                                                     Basis for the claim: _
           Date(s) debt was incurred _
                                                                                     Is the claim subject to offset?       No       Yes
           Last 4 digits of account number _
                                                                                                                                ❑




 3.2       Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                      Unknown
           Bureau of Consumer Financial Protection                                   ❑   Contingent
           1700 G Street NW                                                          ❑   Unliquidated
           Washington, DC 20552
                                                                                         Disputed
           Date(s) debt was incurred _
                                                                                     Basis for the claim: _
           Last 4 digits of account number _
                                                                                     Is the claim subject to offset? II No      ❑   Yes


 3.3       Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                      $2,500.00
           Chad Ploof
           c/o Andrew Heidarpour, Esq.                                               ❑   Contingent
           HeidarpourLaw Firm, PLLC                                                  ❑   Unliquidated
           1300 Pennsylvannia Ave                                                    MI Disputed
           Washington, DC 20004
                                                                                     Basis for the claim: _
           Date(s) debt was incurred _
                                                                                     Is the claim subject to offset? IN No          Yes
           Last 4 digits of account number _
                                                                                                                                ❑




 3.4       Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.                       Unknown
           Chancellor Leonard
           c/o Alex M. Washkowitz, Esq.                                              ❑   Contingent
           CW Law Group, P.C.                                                        ❑   Unliquidated
           488 Oaks Road                                                             •   Disputed
           Framingham, MA 01702
                                                                                    Basis for the claim:
           Date(s) debt was incurred _

           Last 4 digits of account number _                                        Is the claim subject to offset? U No        ❑   Yes




Official Form 206E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 11

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                                   Case 19-10655-JKO                       Doc 41              Filed 04/23/19                Page 2 of 12


  Debtor       Consumer Advocacy Center Inc.                                                            Case number (if known)            19-10655-JKO
               Name

  3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
           Christopher Dolejs
           c/o David Force, Esq.                                              ❑ Contingent
           Law Offices of Michael Lupolover, P.C.                             ❑     Unliquidated
           120 Sylvan Ave, Ste 303                                            ❑ Disputed
           Englewood Cliffs, NJ 07632
                                                                              Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                  Is the claim subject to offset?       No   ❑ Yes


 3.6       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
           Consumer Finanical Protection Bureau                               ❑ Contingent
           1700 G Street NW                                                   ❑ Unliquidated
           Washington, DC 20552
                                                                              III   Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim: _
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?   I   No   ❑ Yes


 3.7       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
           Federal Communications Commission                                  ❑ Contingent
           445 12th Street, SW                                                ❑ Unliquidated
           Washington, DC 20554
                                                                                    Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim: _
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?   U   No   ❑ Yes


 3.8       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
           Federal Trade Commission                                           ❑ Contingent
           Tara Isla Koslov, Chief of Staff                                   ❑ Unliquidated
           600 Pennsylvannia Ave, NW
                                                                                    Disputed
           Washington, DC 20580
                                                                              Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                  Is the claim subject to offset? IN No      ❑ Yes


 3.9       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
           Graham Sorkin                                                      ❑ Contingent
           2125 Delaware Ave, Suite A                                         ❑ Unliquidated
           Santa Cruz, CA 95060                                               ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim: _
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?   ■ No     ❑ Yes

 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Guaranteed Rate, Inc.                                              ❑ Contingent
           Attn: Scott Ubersox                                                ❑ Unliquidated
           3940 N. Ravenswood Ave
                                                                                    Disputed
           Chicago, IL 60613
                                                                              Basis for the claim:
           Date(s) debt was incurred _

           Last 4 digits of account number _                                  Is the claim subject to offset?   U   No   ❑ Yes


 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Jay Brodsky                                                        ❑ Contingent
           240 East Shore Road                                                ❑ Unliquidated
           Great Neck, NY 11023
                                                                                    Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim: _
           Last 4 digits of account number _
                                                                             Is the claim subject to offset?    U   No   ❑ Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 11

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                                  Case 19-10655-JKO                       Doc 41             Filed 04/23/19                   Page 3 of 12


  Debtor      Consumer Advocacy Center Inc.                                                             Case number        (if known)     19-10655-JKO
              Name

 3.12      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
           Jeffrey Bloomfield, Attorney at Law                                ❑ Contingent
           301 North Main Street, Ste 2400                                    ❑ Unliquidated
           Winston Salem, NC 27101
                                                                                  Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim: _
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?   •    No   ❑ Yes

 3.13      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $145,000.00
           Jeremy Jackson
           c/o Stephen P. DeNittis                                            ❑ Contingent
           DeNittis Osefchen Prince, PC                                       ❑ Unliquidated
           1515 Market Street, Ste 1200                                           Disputed
           Philadelphia, PA 19102
                                                                              Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                  Is the claim subject to offset?   U    No   ❑   Yes


 3.14      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,000.00
           Joseph Bond
           c/o Todd M. Friedman                                               ❑ Contingent
           The Law Office of Todd M. Friedman, P.C.                           ❑ Unliquidated
           21550 Oxnard St, Ste 780                                           ❑ Disputed
           Woodland Hills, CA 91367
                                                                              Basis for the claim: _
           Date(s) debt was incurred

           Last 4 digits of account number _                                  Is the claim subject to offset?   MI   No   ❑   Yes


 3.15      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
           Quintin Brown                                                      ❑ Contingent
           5810 Riley Street, Unit 2                                          ❑ Unliquidated
           San Diego, CA 92110
                                                                                  Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Consumer
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?   U    No   ❑   Yes

 3.16      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
           State of California
           Attorney General Public Inquiry Unit                               ❑ Contingent
           Consumer Protection Division                                       ❑ Unliquidated
           P.O. Box 944255                                                    ■ Disputed
           Sacramento, CA 94244-2550
                                                                              Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                  Is the claim subject to offset?   IN   No   ❑ Yes


 3.17      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
           State of Colorado
           Phil Weiser, Attorney General                                      ❑ Contingent
           Ralph L. Carr Judicial Bldg                                        ❑ Unliquidated
           1300 Braodway 10th Floor                                           U Disputed
           Denver, CO 80203
                                                                              Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                  Is the claim subject to offset?   U    No   ❑   Yes


 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Connecticut                                               ❑ Contingent
           Jorge Perez, Commissioner                                          ❑ Unliquidated
           260 Constitution Plaza
           Hartford, CT 06103
                                                                              •   Disputed

                                                                              Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                  Is the claim subject to offset?   U    No   ❑ Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 11

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                                  Case 19-10655-JKO                        Doc 41                Filed 04/23/19               Page 4 of 12


  Debtor       Consumer Advocacy Center Inc.                                                              Case number Of known)             19-10655-JKO
               Name

  3.19     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Georgia                                                        ❑ Contingent
           Chris Carr, Attorney General                                            ❑ Unliquidated
           40 Capital Square, SW
                                                                                      Disputed
           Atlanta, GA 30334
                                                                                Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                    Is the claim subject to offset? • No      ❑ Yes
  3.20     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               Unknown
           State of Idaho                                                       ❑ Contingent
           Lawrence G. Wasden, Atty General                                     ❑ Unliquidated
           700 W. Jefferson Street
                                                                                •    Disputed
           Boise, ID 83720-0010
                                                                               Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                   Is the claim subject to offset?       No   ❑ Yes
  3.21     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply .              Unknown
           State of Illinois
           Office of the Attorney General                                      ❑ Contingent
           Consumer Protection Division                                        ❑ Unliquidated
           500 South Second St                                                       Disputed
           Springfield, IL 62701
                                                                               Basis for the claim:
           Date(s) debt was incurred _

           Last 4 digits of account number _                                   Is the claim subject to offset?   • No ❑ Yes
 3.22      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Indiana                                                    ❑ Contingent
           Indiana Dept of Financial Institution                               ❑ Unliquidated
           30 South Meridian St, Ste 300
                                                                               •     Disputed
           Indianapolis, IN 46204
                                                                               Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                   Is the claim subject to offset?   • No ❑ Yes
 3.23      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Iowa                                                       ❑ Contingent
           Iowa Division of Banking                                            ❑ Unliquidated
           200 East Grand Ave, Ste 300
                                                                               •     Disputed
           Des Moines, IA 50309-1827
                                                                               Basis for the claim: _
           Date(s) debt was incurred

           Last 4 digits of account number _                                   Is the claim subject to offset?   U   No   ❑ Yes
 3.24      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              Unknown
          State of Kansas
          Office of Atty General Derek Schmidt                                 ❑ Contingent
          Consumer Protection Division                                         ❑ Unliquidated
          120 SW 10th Ave, 2nd Floor                                           •     Disputed
          Topeka, KS 66612
                                                                               Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                   Is the claim subject to offset?   • No ❑ Yes
 3.25     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               Unknown
          State of Maine
          Anne L. Head, Commissioner                                           ❑     Contingent
          Maine Dept of Proff & Finance Regulation                             ❑     Unliquidated
          35 State House Station                                               ■ Disputed
          Augusta, ME 04333
                                                                              Basis for the claim: _
          Date(s) debt was incurred _

          Last 4 digits of account number _                                    Is the claim subject to offset?   • No     ❑ Yes




Official Form 206 E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 11
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                                    Case 19-10655-JKO                            Doc 41               Filed 04/23/19                Page 5 of 12


  Debtor        Consumer Advocacy Center Inc.                                                                   Case number (it      known)       19-10655-JKO
                Name

  3.26      Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.              Unknown
            State of Maryland
            Antonio P. Salazar, Commissioner                                          ❑    Contingent
            Financial Regulation                                                      ❑    Unliquidated
            500 North Calvert St, Ste 402                                             •    Disputed
            Baltimore, MD 21202
                                                                                      Basis for the claim: _
            Date(s) debt was incurred _

            Last 4 digits of account number _                                         Is the claim subject to offset?   • No    ❑   Yes


  3.27      Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.               Unknown
            State of Massachusetts                                                    ❑   Contingent
            CRA Unit                                                                  ❑   Unliquidated
            One South Stateion 3rd Floor
            Boston, MA 02110
                                                                                      ■ Disputed
                                                                                     Basis for the claim: _
            Date(s) debt was incurred _

            Last 4 digits of account number _                                        Is the claim subject to offset?    • No    ❑   Yes


  3.28      Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.           $573,828.22
            State of Minnesota                                                       ❑    Contingent
            Office of the Attorney General                                           ❑    Unliquidated
            445 Minnesota St, Suite 1200
                                                                                     •    Disputed
            Saint Paul, MN 55101
                                                                                     Basis for the claim:
            Date(s) debt was incurred _

            Last 4 digits of account number _                                        Is the claim subject to offset? • No      ❑    Yes


  3.29      Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Missouri
           Office of Atty General                                                    ❑    Contingent
           Consumer Protection Division                                              ❑    Unliquidated
           P.O. Box 899                                                              •    Disputed
           Jefferson City, MO 65102
                                                                                     Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                         Is the claim subject to offset? • No      ❑    Yes


 3.30      Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Montana                                                          ❑    Contingent
           Montana Office of Consumer Protection                                     ❑    Unliquidated
           P.O. Box 200151
                                                                                     •    Disputed
           Helena, MT 59620-0151
                                                                                     Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                         Is the claim subject to offset? • No      ❑    Yes


 3.31      Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of New Hampshire
           Gerald H. Little, Commissioner                                            ❑    Contingent
           New Hampshire Banking Dept                                                ❑    Unliquidated
           53 Regional Drive, Ste 200                                                •    Disputed
           Concord, NH 03301
                                                                                     Basis for the claim:
           Date(s) debt was incurred _

           Last 4 digits of account number _                                         Is the claim subject to offset?    • No   ❑    Yes


 3.32      Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.               Unknown
           State of New York
           Maria T. Vullo, Superintendent of Financ                                  ❑    Contingent
           NY Dept of Financial Services                                             ❑    Unliquidated
           One State Street                                                          ■    Disputed
           New York, NY 10004-1511
                                                                                     Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                         Is the claim subject to offset? • No      ❑    Yes



Official Form 206 E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 11
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                                   Case 19-10655-JKO                        Doc 41             Filed 04/23/19                  Page 6 of 12


  Debtor       Consumer Advocacy Center Inc.                                                              Case number (if known)            19-10655-JKO
               Name
  3.33      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all That apply.              Unknown
            State of North Carolina                                              ❑ Contingent
            Department of Justice                                                ❑ Unliquidated
            9001 Mail Service Center
            Raleigh, NC 27699-9001
                                                                                 ■ Disputed
                                                                                Basis for the claim: _
            Date(s) debt was incurred _

            Last 4 digits of account number _                                   Is the claim subject to offset?   ■ No ❑ Yes
  3.34      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of North Dakota
           Office of Attorney General                                           ❑ Contingent
           Gateway Professional Center                                          ❑ Unliquidated
           1050 E. Interstate Ave, Ste 200                                      ■ Disputed
           Bismarck, ND 58503-5574
                                                                                Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                    Is the claim subject to offset?   ■ No ❑ Yes
 3.35      Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.             Unknown
           State of Ohio
           Jacqueline T. Williams, Director                                     ❑ Contingent
           Ohion Dept of Commerce                                               ❑ Unliquidated
           77 S. High St, 21 Floor                                              ■ Disputed
           Columbus, OH 43215-6120
                                                                                Basis for the claim: —
           Date(s) debt was incurred _

           Last 4 digits of account number _                                    Is the claim subject to offset?   ■ No ❑ Yes
 3.36      Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.             Unknown
           State of Oklahoma
           Office of Attorney General                                           ❑ Contingent
           Consumer Protection Unit                                             ❑ Unliquidated
           313 NE 21st Street                                                   ■ Disputed
           Oklahoma City, OK 73105
                                                                                Basis for the claim: —
           Date(s) debt was incurred _

           Last 4 digits of account number                                      Is the claim subject to offset?   ■ No    ❑   Yes


 3.37      Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.             Unknown
           State of Oregon
           Department of Consumer & Business Servic                             ❑ Contingent
           Division of Financial Regulation                                     ❑ Unliquidated
           350 Winter St NE Room 410                                            ■ Disputed
           Salem, OR 97309
                                                                                Basis for the claim: —
           Date(s) debt was incurred _

           Last 4 digits of account number _                                    Is the claim subject to offset?   ■ No    ❑   Yes


 3.38      Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.             Unknown
           State of Pennsylvannia
           Robin L. Weissmann, Secretary of Banking                             ❑   Contingent
           Market Square Plaza                                                  ❑   Unliquidated
           17 N. Second Street. Ste 1300                                        111 Disputed
           Harrisburg, PA 17101
                                                                                Basis for the claim:
           Date(s) debt was incurred _

           Last 4 digits of account number _                                    Is the claim subject to offset?   ■ No    ❑   Yes




Official Form 206 E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 11
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                                    Case 19-10655-JKO                            Doc 41              Filed 04/23/19                 Page 7 of 12


  Debtor        Consumer Advocacy Center Inc.                                                                  Case number (it known)            19-10655-JKO
                Name

  3.39      Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.               Unknown
            State of South Carolina                                                   ❑ Contingent
            David Campbell, Commissioner                                              ❑ Unliquidated
            2221 Devine Street, Ste 200
                                                                                      III Disputed
            Columbia, SC 29205-2418
                                                                                     Basis for the claim:
            Date(s) debt was incurred _

            Last 4 digits of account number _                                        Is the claim subject to offset? 111 No     ❑   Yes


  3.40      Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply .              Unknown
            State of Tennessee
            Department of Commerce & Insurance                                       ❑ Contingent
            Phyllis Jordan ASA II, Consumer Affairs                                  ❑ Unliquidated
            500 James Robertson Pkwy                                                 ■ Disputed
            Nashville, TN 37243-0565
                                                                                     Basis for the claim: _
            Date(s) debt was incurred _

            Last 4 digits of account number _                                        Is the claim subject to offset?   ■ No     ❑   Yes


  3.41      Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Vermont
           Molly Dillon, Deputy Comm of Banking                                      ❑ Contingent
           Vermont Dept of Financial Regulation                                      ❑ Unliquidated
           89 Main Street                                                            ■ Disputed
           Montpelier, VT 05620-3101
                                                                                     Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                         Is the claim subject to offset?   ■ No    ❑    Yes


 3.42      Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Washington
           Levi Clemmens, Director                                                   ❑ Contingent
           Washington State Dept of Financial Insti                                  ❑ Unliquidated
           P.O. Box 41200                                                            ■ Disputed
           Olympia, WA 98504-1200
                                                                                     Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                         Is the claim subject to offset? III No    ❑    Yes


 3.43      Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.              Unknown
           State of Wisconsin                                                        ❑ Contingent
           Dept of Agriculture, Trade & Consumer                                     ❑ Unliquidated
           2811 Agriculture Dr.
           Madison, WI 53708-8911
                                                                                     ■ Disputed
                                                                                     Basis for the claim: _
           Date(s) debt was incurred _

           Last 4 digits of account number _                                         Is the claim subject to offset? 111 No    ❑    Yes


 3.44      Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.              $4,500.00
           Stuart Abramson                                                           ❑ Contingent
           522 Glen Arden Drive                                                      ❑ Unliquidated
           Pittsburgh, PA 15208
                                                                                     ■ Disputed
           Date(s) debt was incurred _
                                                                                     Basis for the claim: _
           Last 4 digits of account number _
                                                                                     Is the claim subject to offset?   ■ No    ❑    Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                          On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                             related creditor (if any) listed?              account number, if
                                                                                                                                                            any


Official Form 206 E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 7 of 11
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                                    Case 19-10655-JKO                             Doc 41        Filed 04/23/19                   Page 8 of 12


   Debtor       Consumer Advocacy Center Inc.                                                                Case number (if known)        19-10655-J KO
                Name

            Name and mailing address                                                                        On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                            related creditor (if any) listed?         account number, if
                                                                                                                                                      any
  4.1       Aaron Frey, Maine Atty General
            6 State House Station                                                                         Line     3.25
            Augusta, ME 04333
                                                                                                            ❑     Not listed. Explain

  4.2       Alan Wilson, S.C. Attorney General
            Office of Atty General South Carolina                                                         Line     3.39
            1000 Assembly Street, Rm 519
            Columbia, SC 29201                                                                            ❑       Not listed. Explain


  4.3       Bob Fuerguson, Attorney General
            Office of Attorney General Washington                                                        Line     3.42
            1125 Washington Street
                                                                                                                  Not listed. Explain
            P.O. Box 40100                                                                                ❑

            Olympia, WA 98504

  4.4       Bob Moses
                                                                                                         Line     3.36

                                                                                                         ❑        Not listed. Explain

  4.5       Brian E. Frosh, Attorney General
            Office of Atty General State of Maryland                                                     Line     3.26
            200 St. Paul Place
            Baltimore, MD 21202                                                                          ❑       Not listed. Explain


  4.6       Bryan A. Schneider, Secretary
            Illinois Division of Finance & Prof Reg                                                      Line     3.21
            320 West Washington Street, 3rd Fl
            Springfield, IL 62786                                                                        ❑       Not listed. Explain


  4.7       Carla Ogden
            500 South Second St                                                                          Line     3.21
            Springfield, IL 62701
                                                                                                         ❑       Not listed. Explain

 4.8       Carolyn Hahn, Sr. Lit Counsel
           1700 G Street NW                                                                              Line     3.2
           Washington, DC 20554
                                                                                                         ❑       Not listed. Explain

 4.9       Carolyn Hahn, Sr. Lit counsel
           1700 G Street NW                                                                              Line     3.6
           Washington, DC 20552
                                                                                                         ❑       Not listed. Explain

 4.10      Curtis T. Hill, Attorney General
           Office of Atty General State of Indiana                                                       Line     3.22
           302 W. Washington Street, 5th Floor
           Indianapolis, IN 46204                                                                        ❑       Not listed. Explain


 4.11      David C. Evers
           Department of Justice                                                                         Line    3.33
           9001 Mail Service Center
           Raleigh, NC 27699                                                                             ❑       Not listed. Explain


 4.12      Deborah Morris, Deputy Enforcement Dir
           1700 G Street NW                                                                             Line     3.6
           Washington, DC 20552
                                                                                                        ❑        Not listed. Explain




Official Form 206 E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 8 of 11
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                                    Case 19-10655-JKO                            Doc 41         Filed 04/23/19                  Page 9 of 12


  Debtor        Consumer Advocacy Center Inc.                                                                Case number (if known)     19-10655-JKO
                Name

             Name and mailing address                                                                    On which line in Part! or Part 2 is the   Last 4 digits of
                                                                                                         related creditor (if any) listed?         account number, if
                                                                                                                                                   any
  4.13       Department of Consumer & Business Servic
             Division of Financial Regulation                                                            Line     3.37
             P.O. Box 14480
                                                                                                                 Not listed. Explain
             Salem, OR 97309-0405                                                                        ❑


  4.14       Ellen F. Rosenblum, Atty General .
             Oregon Dept of Justice                                                                      Line     3.37
             1162 Court St., NE
             Salem, OR 97301-4096                                                                        ❑       Not listed. Explain


  4 . 15   Evan Romanoff
             Office of the Attorney General                                                              Line     3.28
             445 Minnesota Street, Suite 1200
                                                                                                                 Not listed. Explain
             Saint Paul, MN 55101                                                                        ❑


  4.16       Gavin M. Gee, Dir of Finance
             Idaho Dept of Finance                                                                       Line     3.20
             800 Park Blvd, Suite 200
                                                                                                                 Not listed. Explain
             Boise, ID 83712                                                                             ❑


  4.17       George Jepsen, Attoney General
             Office of Attorney General, Connecticut                                                     Line    3.18
             55 Elm Street
             Hartford, CT 06106                                                                          ❑       Not listed. Explain


 4.18        Gordon McDonald, Attorney General
             New Hampshire Dept of Justice                                                               Line    3.31
             33 Capital Street
                                                                                                                 Not listed. Explain
             Concord, NH 03301                                                                           ❑


 4.19        Greg Gonzales, Commissioner
             Tennessee Dept of Financial Insti                                                           Line    3.40
             312 Rosa L. Parks Ave, 26th Floor
                                                                                                                Not listed. Explain
             Nashville, TN 37243                                                                         ❑


 4.20        Josh Shapiro, Penn Attorney General
             Office of Atty General of Pennsylvannia                                                     Line    3.38
             Strawberry Square
             Harrisburg, PA 17120                                                                        ❑      Not listed. Explain


 4.21        Justice Rillera
             Financial Enforcement Officer                                                               Line    3.37
             350 Winter St, NE, Rm 410
                                                                                                                Not listed. Explain
             Salem, OR 97309                                                                             ❑


 4.22        Katrina G. Cardin
             Consumer Protection Investigator                                                            Line    3.43
             P.O. Box 8911
                                                                                                                Not listed. Explain
             Madison, WI 53708-8911                                                                      ❑


 4.23       Kristi Thompson
            445 12th Street, SW                                                                         Line     3.7
            Washington, DC 20554
                                                                                                         ❑      Not listed. Explain

 4.24       Lee R. Keith
            Missouri Division of Finance                                                                Line     3.29
            Truman State Office Bldg. Rm 630
                                                                                                                Not listed. Explain
            Jefferson City, MO 65102                                                                    ❑




Official Form 206 E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 9 of 11
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                                 Case 19-10655-JKO                        Doc 41         Filed 04/23/19                  Page 10 of 12


  Debtor       Consumer Advocacy Center Inc.                                                          Case number (if known)      19-10655-JKO
               Name

           Name and mailing address                                                                On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                   related creditor (if any) listed?         account number, if
                                                                                                                                             any
  4.25     Letitia James, Attorney General
           Office of Atty General New York State                                                   Line     3.32
           The Capitol
                                                                                                           Not listed. Explain
           Albany, NY 12224-0341                                                                   ❑


  4.26     Maura Healey, Attorney General
           Office of Atty General of Massachusetts                                                 Line     3.27
           1350 Main Street, 4th Floor
                                                                                                           Not listed. Explain
           Springfield, MA 01103                                                                   ❑


  4.27     Melanie G. Hall, Commissioner
           Montana Div of Banking & Financial Insti                                               Line     3.30
           P.O. Box 200546
                                                                                                           Not listed. Explain
           Helena, MT 59620                                                                        ❑


  4.28     Mike Devine, Attorney General
           Ohio Attorney General                                                                  Line     3.35
           30 E. Broad St. 14th Floor
                                                                                                          Not listed. Explain
           Columbus, OH 43215                                                                     ❑


 4.29      Office of Attorney General
           1300 "I" Street                                                                        Line     3.16
           Sacramento, CA 95814-2919
                                                                                                  ❑       Not listed. Explain

 4.30      Ray Grace, Commission
           North Caroolina Comm of Banks                                                          Line     3.33
           4309 Mail Service Center
                                                                                                          Not listed. Explain
           Raleigh, NC 27699-4309                                                                 ❑


 4.31      Ryan Sullivan
           Office of Consumer Protection                                                          Line     3.30
           Helena, MT 59620-0151
                                                                                                  ❑       Not listed. Explain

 4.32      Scott Cameron, Senior Deputy Comm
           California Dept of Business Oversight                                                  Line     3.16
           Financial Services Division
                                                                                                          Not listed. Explain
           1515 K Street, Suite 200                                                               ❑

           Sacramento, CA 95814-4052

 4.33     Shawna Meyer
          120 SW 10th Ave, 2nd Floor                                                              Line     3.24
          Topeka, KS 66612
                                                                                                  ❑       Not listed. Explain

 4.34     Steve Kelly, Commissioner
          Minnesota Depart of Commerce                                                            Line     3.28
          Golden Rule Bldg
          85 7th Place East, Suite 280                                                            ❑       Not listed. Explain

          Saint Paul, MN 55101

 4.35     Sue Reed
          Consumer Advocate                                                                       Line    3.29
          120 SW 10th Ave, 2nd Floor
                                                                                                          Not listed. Explain
          Jefferson City, MO 65102                                                                ❑


 4.36     Susan Laib
          Lead Consume Special                                                                    Line    3.36
          313 NE 21st Street
                                                                                                          Not listed. Explain
          Oklahoma City, OK 73105                                                                 ❑




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 10 of 11
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                                  Case 19-10655-JKO                             Doc 41         Filed 04/23/19                    Page 11 of 12


  Debtor        Consumer Advocacy Center Inc.                                                             Case number           (if known)   19-10655-JKO
                Name

            Name and mailing address                                                                     On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                         related creditor (if any) listed?                account number, if
                                                                                                                                                          any
  4.37      Time Kemp, Deputy Bank Commissioner
            State Bank Commof Kansas                                                                     Line       3.24
            700 SW Jackson St, Suite 300
            Topeka, KS 66603                                                                             ❑         Not listed. Explain


  4.38      TJ Donovan, Vermont Atty General
            109 State Street                                                                             Line       3.41
            Montpelier, VT 05609
                                                                                                         ❑ Not listed. Explain

  4.39      Tom Miller, Iowa Attorney General
            Iowa Dept of Justice                                                                         Line      3.23
            Hover State Office Bldg
                                                                                                                   Not listed. Explain
            1305 E. Walnut Street                                                                        ❑

            Des Moines, IA 50319

  4.40      Wayne Stenehjem, Atty General
            1050 E. Interstate Ave, Ste 200                                                              Line      3.34
            Bismarck, ND 58503-5574
                                                                                                         ❑         Not listed. Explain



  Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                                               Total of claim amounts
 5a. Total claims from Part 1                                                                                5a.   $                                  0.00
 5b. Total claims from Part 2                                                                                5b. + g                            777,328.22

 5c. Total of Parts 1 and 2
      Lines 5a + 5b = 5c.                                                                                    5c.           $                      777,328.22




Official Form 206 E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11 of 11
Software Copyright (c) 1996 - 2019 Best Case, LLC   -   www.bestcase.com                                                                                       Best Case Bankruptcy
                                   Case 19-10655-JKO                    Doc 41       Filed 04/23/19   Page 12 of 12




                                                                 United States Bankruptcy Court
                                                                     Southern District of Florida
   In re      Consumer Advocacy Center Inc.                                                            Case No.   19 10655 J KO
                                                                                                                       -    -


                                                                                   Debtor(s)           Chapter    11



                                                        AMENDED
                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

            DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                       I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I
             have read the foregoing Schedule A/B, Schedule G and Statement of Financial Affairs, consisting of page(s),
             and that they are true and correct to the best of my knowledge, in ormation, and belief.




 Date April 23, 2019                                                   Signature
                                                                                   Albe Kim
                                                                                   President

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                     18 U.S.C. §§ 152 and 3571.




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